                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

JENNIFER CAMACHO,
JENNIFER CAMACHO as next best friend of
JASMIN E. VELEZ, and
JENNIFER CAMACHO as next best friend of
DANIEL VELEZ,

                Plaintiffs,                           C.A. NO.: 1:19-cv-10378-RWZ

       vs.

HANNAH ROBBINS and MICHAEL ROBBINS,

               Defendants.


                        DEFENDANTS’ INITIAL DISCLOSURES

       Pursuant to and in accordance with Rule 26(a)(1) of the Federal Rules of Civil

Procedure, the defendants, Hannah Robbins and Michael Robbins, provides to the plaintiffs

the following initial disclosures based on the information currently and reasonably available

to the defendants:

   A. INDIVIDUALS LIKELY TO HAVE DISCOVERABLE INFORMATION

             1. Jennifer Camacho, 96 Pond Street, Framingham, Massachusetts.

             2. Jasmin E. Velez, 96 Pond Street, Framingham, Massachusetts.

             3. Daniel Velez, 96 Pond Street, Framingham, Massachusetts.

             4. Hannah Robbins, 475 Lane Road, Chester, New Hampshire.

             5. Michael Robbins, 475 Lane Road, Chester, New Hampshire.

                The above-listed individuals are likely to have discoverable information
                concerning the underlying facts and circumstances surrounding the accident
                that gives rise to this action.




                                              1
   B. DOCUMENTS, DATA COMPILATIONS, AND TANGIBLE THINGS

          1. None at this time.

   C. COMPUTATION OF DAMAGES

      Not applicable.

   D. INSURANCE AGREEMENT(S)

      Defendants, Hannah Robbins and Michael Robbins, are provided optional bodily
      injury coverage in the amounts of $250,000.00 per person and $500,000.00 per
      accident, that would apply to any judgment in favor of the plaintiffs.

      A copy of defendants’ declaration of coverage selection page will be provided by
      way of supplement.



                                            Respectfully submitted,
                                            Defendants,
                                            Hannah Robbins and Michael Robbins,
                                            By their attorney,


                                            /s/ David M. Lentini, II

                                            David M. Lentini, II, Esquire
                                            B.B.O. # 666501
                                            Law Office of Patrice L. Simonelli
                                            29 Crafts Street, Suite 200
                                            Newton, MA 02458
                                            617-244-0016
                                            dlentini@geico.com
Dated: May 31, 2019




                                           2
                              CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF System will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants this 31st
day of May, 2019.

       John Lee Diaz, Esq.
       Law Office of John Lee Diaz
       801C Tremont Street
       Boston, MA 02118

                                                   /s/ David M. Lentini, II
                                                   _____________________________
                                                   David M. Lentini, II, Esq.




                                              3
